              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:12-cr-00020-MR-DLH


UNITED STATES OF AMERICA,            )
                                     )
           vs.                       )
                                     )
                                     )
(1) AVERY TED “BUCK” CASHION, III;   )                ORDER
(3) RAYMOND M. “RAY” CHAPMAN;        )
(4) THOMAS E. “TED” DURHAM, JR.;     )
(5) KEITH ARTHUR VINSON;             )
(6) GEORGE M. GABLER; and            )
(7) AARON OLLIS.                     )
____________________________________ )

      THIS MATTER is before the Court on the parties’ Joint Motion for

Status Conference [Doc. 117]. The parties request a status conference for

the purpose of discussing the setting of a peremptory trial date as well as

the entry of a scheduling order for the filing of motions and disclosure of

experts. [Doc. 117].

      This matter is currently scheduled for trial during the Court’s March 4,

2013 trial term. It is currently the first matter to be heard on the docket. As

such, the parties’ request for a peremptory setting is unnecessary. As for

the timing of motions and expert disclosures, those matters are adequately

addressed by the Court’s Standard Arraignment and Criminal Discovery




   Case 1:12-cr-00020-MR-SCR     Document 119    Filed 01/11/13   Page 1 of 2
Orders as well as the Federal Rules of Criminal Procedure. Accordingly,

the parties’ request for a status conference is denied.

      IT IS, THEREFORE, ORDERED that the parties’ Joint Motion for

Status Conference [Doc. 117] is DENIED.

      IT IS SO ORDERED.

                               Signed: January 11, 2013




                                          2



   Case 1:12-cr-00020-MR-SCR     Document 119             Filed 01/11/13   Page 2 of 2
